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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA

Caset Case: 1:24-cv-00033 JURY DEMAND
Assigned To : Walton, Reggie B.
THOMAS TATUM Assign. Date : 1/4/2024

Plaintiff Description: Pro Se Gen. Civ. (F-DECK)

Vv.

Joseph Biden

President Of The United States

and

METROPOLITAN POLICE

And

MPD sgt DANIEL THAU

And

USCP deputy chief ERIC WALDO, in his individual capacity and official capacity
And

USCP inspector THOMAS LOYD, in his individual capacity and official capacity
And

USCP sgt BRYANT WILLIAMS, in his individual capacity and official capacity
And

USCP Lt MICHAEL LEROY BYRD, in his individual capacity and official capacity
And

MPD commander ROBERT GLOVER, in his individual capacity and official capacity
And

MPD sgt FRANK EDWARDS, in his individual capacity and official capacity
And

MPD officer JIMMY CRISMAN, in his individual capacity and official capacity
And

MPD Sgt PAUL RILEY, in his individual capacity and official capacity

And

MPD Sgt TARA TINDALL, in his individual capacity and official capacity

And

MPD officer LILA MORRIS, in his individual capacity and official capacity
And

MPD Lt JASON BAGSHAW, in his individual capacity and official capacity
And

YOGANDA PITMAN, in her individual capacity and official capacity

And

JAMES RAY EPPS
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And

JAMES MICHAEL JOHNSON

In his official capacity

As speaker of the house

And

BARRY LOUDERMILK, in his official capacity

Committee on House Administration Subcommittee on Oversight Chairman

Defendants

1. My name is Thomas Eugene Tatum, I am from Greenville, MS.

2. The named defendants are United States Capitol Police Officers and DC Metro
Police Officers who were the most egregious offenders of police brutality in flagrant violation of
the constitution, the law, and their own policies. All of this is set forth in detail in exhibit 1 to this
complaint which is incorporated as if set forth fully herein.

3. A link to a video with a timeline of the events can be found here and is
incorporated into this complaint. https://open.ink/collections/j6.

4. But for their actions, January 6, 2021 would have been a peaceful protest. My
injuries set forth below were a direct and proximate result of their illegal actions.

5. James Ray Epps is named because there is copious evidence that clearly
demonstrates that he “orchestrated” the chaos on January 6. I put “orchestrated” in comments
because he himself texted that on January 6. The video clearly shows him at the front line of
every significant flashpoint and breach. But for his actions, I would not have been injured.

6. On January 6th, 2001 I traveled to Washington D.C. to attend the “Stop The

Steal” Rally near the Washington Monument.
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_7. I_prepared a presentation that describes the events of January 6, 2021. It_is

attached to this complaint as exhibit 1 and should be incorporated into this complaint as if set
forth fully herein.

8. I arrived at the Ellipse area where Donald Trump was giving his speech after he
had already started giving it but near the beginning,

9, I recorded Trump’s speech on my cell phone for over an hour.

10. At the end of his speech, I walked directly to the west side of the Capitol by
walking down the National Mall.

11. _ L arrived at the west plaza at the Capitol at around 2:27 pm.

12. Within moments I heard someone screaming about “tear gas” and within moments
T could smell the tear gas.

13. This is when the police line fell on the west plaza at 2;30.

14. _ As this was happening the crowd started moving closer to the Capitol and I
accidentally tripped because someone stepped on my shoelaces from behind and I fell.

15. Other protestors helped pick me up and we were all being sprayed with pepper
spray from the police and the entire area had just been gassed with CS gas that caused the entire
police line to collapse to begin with.

16. Then I followed the crowd up to the lower west terrace where I filmed what was
happening for around 30 - 45 minutes.

17. Leventually moved closer to the lower west terrace tunnel.

18. | At 4;21 pm, the police pushed protestors out of the tunnel down the steps causing

a pile-up.

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19. ____When this happened Rosanne Boyland was pushed into me causing me to hit the

ground beside her. As we hit the ground I remember seeing Rosanne was already bleeding from
the nose and the mouth.

20. My leg was trapped by the handrail and I could not get up or do anything but pray.
I was there for 8 minutes.

21. During that 8 minutes I, along with Rosanne and others, was repeatedly sprayed
with OS and CS gas.

22. From the bottom of the pile up with people being thrown on top of us by police
and through all the pepper spray I could see several of the cops steadily swinging their sticks at
us and spraying pepper spray on us, pushing and shoving with other protestors. I remember
hearing what sounded like explosions going off on top of us.

23. This entire time I had to struggle to breathe, I tried to cover my eyes from all the
gas, and I put my head behind the handrail as 1 prayed to keep from being struck in the head.

24. Eventually, a stick or baton from the police broke my glasses after I was struck in
the head during this time.

25. I thought my leg was going to snap in two and at one point, after a protester had
been thrown into me by police I thought my back was going to be broken by bent over down a
step as well.

26. Rosanne Boyland was unconscious this entire time and experienced everything
and more than I did because she was not able to try to defend herself.

27. That is when Lila Morris picks up a stick and bashes it into the head of Rosanne

Boyland. This happened at 4:27, right after other protesters trying to save us started pulling me
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_________up out of the pileup and I started to turn a little stand up to get off my back and get away from
the cops.

28. As stood up on the steps I looked for and found Rosanne who was having CPR
performed on her by others present. I remember looking down the tunnel at all the police and
then turning and going down the steps.

29. Iwas completely drenched in either CS or OC spray and I couldn’t see. J ended up
finding a place to sit and people poured water in my eyes and on my skin for 30 to 45 minutes. 1
couldn’t open my eyes during that time because it hurt so bad. I believe I was in shock also.

30. And about that time around 5 pm the police started shooting more CS gas, a lot of
it this time on the lower west terrace from out of the tunnel and I got up and walked back down
to the Washington Monument.

31. Those of us at the Western Terrace were peaceful. The police used excessive force
on us that was not necessary and served no legitimate purpose.

32. They retaliated against us for exercising our right to free speech. The proof is that
the same police did not use excessive force against the protestors who rioted throughout the same
city in 2020, because they agreed with their viewpoint.

33. If ] am arrested after filing this complaint it is clearly retaliation.

34. I witnessed Roseanne Boyland’s death.

35. No investigation has been conducted by Congress.

36. 1am seeking damages for the violation of my civil rights.

37. 1 am also seeking the Speaker of the House Michael Johnson and Committee on
House Administration Subcommittee on Oversight Chairman Barry Loudermilk to conduct/order

an investigation and hearing into police brutality that day and the death of Rosanne Boyland
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38. 1 have witnessed several January 6th trials and I have testified during Brian

Mock’s trial and I don’t believe I can receive a fair and impartial trial in Washington D.C.
because of the highly partisan and historic nature in regards to all eve nt surrounding January
6th.

Date: January ‘3 , 2024

Thomas Tatum

105 Tate circle

Greenville, MS 38701
